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F=n EL') 3. \}fe€/ e.r:_
iN THE UNITED STATES DISTRICT COURT ”_
FOR THE WESTERN DISTRICT OF TENNESSEE 05 i-i;:,f 1 8 M=% S= 51

 

 

AT MEMPHIS

NACCO MATERIALS HANDLING )
GROUP, INC., dfb/a YALE MATERIALS )
HANDL[NG CORPORATION, )
)
Plaintiff, )
)

v. ) NO, 03-2561-BA
)
TOYOTA MATERIAL HANDLING )
USA, INC., and TI-IE LILLY COMPANY, )
)
Defendants. )

 

ORDER GRANTING EX'I`ENSION OF TIME TO RESPOND TO THE LILLY
COMPANY’S MOTION FOR PARTIAL SUMMARY JUDGMENT

Upon Motion by Plaintiff and for good cause Shown, the time for Plaintiff to respond to
the Motion for Partial Summary Judgrnent filed in this cause on April 20, 2005 is hereby

extended to June 13, 2005.

ENTER this ( _I%\ day of May, 2005.

UStates District Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 114 in
case 2:03-CV-02561 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

